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 9                            UNITED STATES DISTRICT COURT
10                                    DISTRICT OF NEVADA
11   REGINALD C. HOWARD,                                   Case No. 2:19-cv-00749-APG-EJY
12                      Plaintiff,
                                                           JOINT MOTION TO EXTEND
13   V.                                                     DISCOVERY DEADLINES
                                                               (FIRST REQUEST)
14   STEVEN GRIERSON, et al.,
15                      Defendants.
16
17         Defendants, Howell, Lewis, Wickham and Willett, by and through counsel, Aaron D.
18   Ford, Nevada Attorney General, and Austin T. Barnum, Deputy Attorney General, hereby
19   jointly move this court to extend discovery deadlines for an additional 30 days. The parties
20   met and conferred regarding extension via phone on October 8, 2021.
21   I.    PROCEDURAL BACKGROUND
22         This is a federal civil rights action pursuant to 42 U.S.C. § 1983 filed pro se by
23   Plaintiff, Reginald Howard (hereinafter referred to as "Howard"), on November 3, 2021.
24   ECF No. 9. This Court ordered the case to inmate early mediation conference (EMC) on
25   December 14, 2020. ECF No. 11. The report for the EMC was filed on March 1, 2021, (ECF
26   No. 15) and Defendants filed a notice of acceptance of service on May 19, 2021. ECF No. 20.
27         The Court issued its scheduling order on August 20, 2021. ECF No. 31. The current
28   discovery deadline is November 18, 2021.


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 1   II.    LOCAL RULE 26-8
 2          Parties submit there is good cause for a thirty-day (30) extension to the discovery
 3   deadlines. Local Rule 26-3 states in relevant part:
 4                "A motion or stipulation to extend a deadline set forth in a
                  discovery plan . . . made within 21 days of the subject deadline
 5                must be supported by a showing of good cause ... A motion or
                  stipulation to extend a discovery deadline or to reopen discovery
 6                must include:
                  (a) A statement specifying the discovery completed;
 7                (b) A specific description of the discovery that remains to be
                  completed;
 8                (c) The reasons why the deadline was not satisfied or the
                  remaining discovery was not completed within the time limits set
 9                by the discovery plan; and
                  (d) A proposed schedule for completing all remaining discovery
10
11          a. Discovery Completed

12          Parties have not completed any discovery at this time.
13          b. Specific Description of Discovery that Remains to be completed

14          Howard propounded requests for production of documents on August 30, 2021.
15   Parties held a meet and confer on October 8, 2021, agreeing to an extension for response to
16   these requests.
17          Defendants have not propounded discovery requests at this time.
18          c. Reasons why the deadline will not be met

19          Good cause exists for extending the discovery deadlines. In the time Howard
20   propounded his discovery requests and the responses came due the Deputy Attorney
21   General (DAG) and the Senior Deputy Attorney General (SDAG) left the office.
22   Undel'signed counsel was assigned this case October 4, 2021, which was after the time for
23   responses were due. Therefore, undersigned counsel scheduled a meet and confer with
24   Howard to discuss the responses and discovery.
25          At the meet and confer Howard extended leave to respond to the requests on October
26   29, 2021. After these are mailed to Howard, reviewed and contemplated then it is likely
27   Howard will not have adequate time to file further discovery requests that will require
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 1    response before the expiration of the current discovery deadline. Therefore, parties agreed
 2    that an extension to the discovery deadline was justified.
 3             d. Current & Proposed schedule
 4       • Last day to file discovery extension from October 29, 2021 to November 26, 2021
 5       • End of Discovery from November 18, 2021 to December 17, 2021
 6       • Discovery Motion Deadline from December 2, 2021 to December 31, 2021
 7       • Dispositive Motion Deadline from December 20, 2021 to January 17, 2022
 8       • Joint Pretrial Order Pursuant to LR 16-3(b), the parties shall file a Joint Pretrial
 9             Order thirty (30) days after the date for filing motions for summary judgment. In the
10             event dispositive motions are filed, the date for filing the joint pretrial order shall be
11             suspended until thirty (30) days after a decision of the dispositive motions or until
12             further order of the court.
13    III.     CONCLUSION
14             Based upon the foregoing reasons, the Parties request that this Court grant the
15    requested relief and continue deadlines as requested herein.
16             Respectfully submitted by,
                                                        AARON D. FORD
17                                                      Attorney General
18
19                                                      By: Isl Austin T. Barnum
      Re nald Howard, Plaintiff                            Austin T. Barnum, Bar No. 15174
20    Pro Se                                               Deputy Attorney General
                                                           Attorneys for Defendants
21
22    Dated: to- I$   -:i./                                 Dated: October 19, 2021

23                                                      IT IS SO ORDERED.
24
25
26                                                      U.S. MAGISTRATE JUDGE

'27                                                     DATED: October 19, 2021.
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